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BEFORE: JOAN M. AZRACK                                          DATE: 12/9/2020
UNITED STATES DISTRICT JUDGE                                    TIME: 3:30 PM (10 Mins)

                      CRIMINAL CAUSE FOR STATUS CONFERENCE

DOCKET NO. 20-cr-00220 (JMA)                                                     FILED
                                                                                 CLERK
DEFENDANT: Thomas Blaha            DEF. #: 1                            12/9/2020 4:26 pm
☒ Present ☐ Not present      ☐ Custody ☒Bail
                                                                           U.S. DISTRICT COURT
DEFENSE COUNSEL: Kevin B. Faga
                                                                      EASTERN DISTRICT OF NEW YORK
☐ Federal Defender    ☐ CJA        ☒ Retained                              LONG ISLAND OFFICE

AUSA: Anna L. Karamigios

INTERPRETER:

PROBATION OFFICER/PRETRIAL:

COURT REPORTER: Dominick Tursi             COURTROOM DEPUTY: DJF

☒    Case Called.            ☒ Counsel present for all sides.
☐    Initial Appearance and Arraignment held.
☐    Defendant waives public reading of the Indictment and enters a plea of not guilty.
☒    Waiver of speedy trial executed; time excluded from 12/9/2020 through 1/12/2021.
☐    Order setting conditions of release and bond entered.
☐    Permanent order of detention entered.
☐    Temporary order of detention entered.
       ☐ Detention hearing scheduled for .
☐ Bail hearing held. Disposition:
☒ Next court appearance scheduled on 1/12/2021 at 3:00 PM. The proceeding will be
conducted through the AT&T teleconference center. The parties shall dial 1-877-873-8017 and
enter Access Code 4785432# at the prompt.


Defendant     ☒    Remains on Bond         ☐    Remains in Custody.

OTHER: All parties consent to today’s conference proceeding by telephone.
